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U.S.A. vs. Franzella Strong Docket No. ZEBTSQJRZM§§Y{?$

WESTERN DISTRICT OF TENNESSEE

Petition on Probation and Supervised Release

COMES NOW MARNIE KLYMAN , PROBATION OFFICER OF THE COURT presenting an ofiicial
report upon the conduct and attitude of Franzella Strong who was placed on supervision by the Honorable
Bernice B. Donald sitting in the Court at Memp_his, TN , on the itt_h_ day of Jan@g , 2005, who fixed the period
of supervision at three 13 ) years , and imposed the general terms and conditions theretofore adopted by the Court
and also imposed Special Conditions and terms as follows:

(l) The defendant shall submit a DNA Sample as directed by the Probation Oiiicer.

(2) The defendant shall pay $18,560.61 restitution (Balance: $17,467.01)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(lf short insert here; if lengthy write on separate sheet and attach)

In order for this officer to effectively supervise and monitor this case, a Special Condition requiring the defendant
to submit to mental health treatment as deemed appropriate is needed. She has signed Probation Form 49/Waiver
Of Hearing To Modify Conditions Of Probation, adding the Special Condition of participation in mental health
treatment as directed by the Probation Oiiice.

PRAYING THAT THE COURT WILL ORDER that Franzella Strong’s supervision be MODIFIED to include
the Special Condition of participation in mental health treatment as directed by the Probation OHice.

 

ORDER OF COURT RESPECTFULLY,
Considered and orde@ this Z;l_day MA~ ‘ 1 /6('4;;»,61
de, 20 95 , and ordered filed MARNIE KLYMAN
and made a part of the records in the above United States Probation OHicer

Place: Memuhis, Tennessee

Date: 273/05

 

United States District Judge

Tnis document entered on the docket

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with Hu|e E,~F~' ar=ti.for 32(b) FRCrP on ?_”_g 118 /

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13189)

United States District Court

WESTERN DlS'lZl’iCt TENNESSEE

Waiver of Hearing to Modify Conditions
of Probation/Supervised Release or Extend Term of Supervision

l have been advised and understand that l am entitled by law to a hearing and assistance of counsel
before any unfavorable change may be made in my Conditions of Probation and Supervised Fle|ease or
my period of supervision being extended. By "assistance of counsel.' l understand that | have the right to
be represented at the hearing by counsel of my own choosing if | am able to retain counse|. | also
understand that | have the right to request the court to appoint counsel to represent me at such a
hearing at no cost to myself if | am not able to retain counsel of my own choosing.

l hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. l also agree to
the following modifications of my Conditions of Probation and Supervised Fle|ease or to the proposed
extension of my term of supervision:

Defendant shall participate in a program which may include inpatient therapy for treatment of
drug/alcohol dependency, including drug/alcohol testing to determine if you have reverted to the use of
drugs/alcohol You shall also abstain from the use of drugs/alcohol during and after the course of
treatment

The defendant shall participate in lV|enta| Hea|th Treatment as deemed necessary/directed by the
U. S. Probation Office.

Witness: _MAAQ_¢_M')Q.__, Signed: M<M

lVlAFiNlE KLYl\/|AN FRANZELl\_A STRONG
U. S. Probation Officer Probationer/Supervised Fleieasee

E.,f JL//of

Date

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 147 in
case 2:03-CR-20483 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

